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              Exhibit 12
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              Exhibit 13
Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58       Desc
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              Exhibit 14
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                                                               Prudencio Pltfs' Ex. 6206 pg 1
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              Exhibit 15
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                  Exhibit Exhibits 12-19 to Satterley Declaration Page 9 of 118
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             Luzenac America Technical Center • 8985 East Nichols Avenue • Englewood, CO 80112 • (303) 643�451 • Fax: (303) 799-8926




                                                         TECHNICAL REPORT



              To:         Davi d Crouse                                                Analytical Project No:     A01709
                                                                                                        Date:     23-May-02
              From:       Julie Pier
                          Analytical and Technical Support

         ·    Copy:       J. M. Godla
                          S. S. Mauney
                          R. J. Zazenski

              Subject:         ANALYSIS OF FIBROUS MATERIAL FROM ARGONAUT
                                                           WASTE ROCK


         Request:


         A sample of fibrous material from the waste rock on the west side of the south end of the Argonaut mine was
             submitted to the Technical Center for identification. The waste rock was being considered for road paving
         applications.



         Results:


             The fibrous material is tremolite.
                          .                                .                       .                             .
          The material was first examined by polarizing light microscopy, using the dispersion staining technique.
          Tremolite was preliminarily identified by this method.


             Subsequent analysis by scanning electron microscopy (SEM) and transmission electron microscopy (TEM)
             confirmed the tremolite identification. SEM micrographs and chemical analysis by energy dispersive X-ray
          spectroscopy (EDS) are included in Plate 1.




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                  Exhibit Exhibits 12-19 to Satterley Declaration Page 10 of 118
   ANALYSIS OF FIBROUS MATERIAL                         Plate 1          LUZENAC AMERICA TECHNICAL CENTER
   FRQM ARGONAUT WASTE RO<;:K                                                                                23-May-02
   Project No. A01709                                                                                         J.W. Pier
                                                                                       SEMIMAGE
                                                                                       Fibrous material found in
                                                                                       Argonaut waste rock identified as
                                                                                       tremolite. The material clearly
                                                                                       has an extremely high aspect
                                                                                       ratio.




                                                                                       EDS CHEMICAL ANAL YS/S
                (i
                                                                                       The chemical analysis of the
                                                                                       material, above, is consistent
                                                                                       with tremolite.

                                                                                       Au and Pd peaks are from a
                                                                                       conductive coating applied for
                                                                                       SEM analysis.




           Mg
                                  Ca




                     Au   Pd                        Fe

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              Exhibit 16
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                                          Jahruon. & 1olro:mn

                                          From· Millicer.t Ozd�lar
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                                          I Ant enclosing a copy ofthe teet and result3 fur you to look oYet. Ifyou could plw� give
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                                          y0\1,



                                          Sincerely,

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                Exhibit 17
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                                                                                                                                                            Page 1 of 56



                      AMA Analytical Services, Inc.
                                                                                  Focused On Results.                              CERTIFICATE OF ANALYSIS

       Chain of Custody: 308006                                                                                                        Job Name: Task 3 - Anatysis of Official Samples                                                                             Date Submitted: 7/24/2019
                       Client: US Food & Drug Adminitration                                                                        Job Location: 4th Group - 15 Samples                                                                                              Date Analyzed: 8/20/2019-9/18/2019
                    Address: Office of Cosmetics & Colors                                                                           Job Number: CUN 1- Task 3                                                                                                           Report Date: 10/3/2019
                                 4300 River Road                                                                                    PO Number: HHSF223201810337P                                                                                                      Date Sampled: Not Provided
                                 College Parle, MD 20740                                                                                                                                                                                                        Person Submitting: Goran Periz
                 Attention: John Gasper                                                                                                                                                                                                                                       Revised: 10/11/2019 (Revision #2)

                                                                                                                                           SUMMARY OF ANALYSIS
                                                                                                                                                                                                 %Total Tremolite &
                                                TEM LOO                               TEM LOQ                        %Tremolite by TEM                     %Chrysotile by TEM
                                                                                                                                                                                                   Chrysotile by TEM                    "
   AMA              Client                                                                                                                                                                                                                            "          %Acid            "
                                                                                                                                                                                                                                                                                                           Comments
Sample ID        Sample ID         Using ASTM 05756 Mass                    Using ASTM 05756 Mass                 Using A5TM 05756 Mass                 Using ASTM 05756 Mass                 Using ASTM 05756 Mass                �::�:s Organics Soluable                     Other
                                                Calculation                          Calculation                           Calculation                           Calculation                           Calculation

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308006-68            D-58                  0 00000 135%                             0.00000 540%                                 NO                               0.0000 2%                             0.0000 2%                      NO           0.2%         11.2%         88.6%
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Analytical Method(s):            PLM by Modified NY ELAP 198.6
                                 TEM by Modified NY ELAP 198.4/ASTM 05756


Analyst(s):     PLM
               TEM
                                                                                                                                                                                                                                    Technical Director: Andreas Saldivar


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                                                                                                                                                                                                                                                                                                        Prudencio Pltfs' Ex. 1571 pg1
                   Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                                           Desc
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Record Changes Report


Client:                 US Food & Drug Administration

Client Code:           FDA

Chain of Custody:       308006




Date           Description

10/11/2019 308006 6, 6A, 68/D 58: 1) added initials & dates to all strike throughs and additions to gravimetric bench sheets. 2} revised handwritten TEM
               bench sheet for 6B to break up the single cluster found on Grid B, GO 18 into its 3 component fibers 3) changed the word "fiber" to "structure" on
               p. 4 of Case Narrative under LoQ discussion for 6A & 6B & updated the basis of LoQ calculation for 68. 4) changed the word "fiber" to
               "structure" in reference to chrysotile on p.4 of Case Narrative under the TEM Discussion and Interpretation of Analytical Findings. 5) Updated
               the picture for 308006 6B Chrysotile Structure 1 on p. 6 of Case Narrative. 6} revised reported LoQ, concentration of chrysotile & total
               cocentration for aliquot 6B based off of 4 structures (original concentration was based off of 2 structures). 7) added gravimetric loss data for
               PLM preparations to comments section of the certificate of analysis.

10/08/2019 308006 6, 6A, 6B/D58: 1) The Special Instructions section of the login sheet was revised to include the FDA's cancellation of a request for
               analyzing a 4th aliquot of D 58 (308006 6C). 2} The preparation date was added to pages 2 & 3 of the TEM gravimetric bench sheet and to
               page 2 of the PLM gravimetric bench sheet; an explanation for the date written in the right hand margin of both sets of bench sheets was added
               to them; added missing weights for 308006 16 and 308006 17. 3) The handwritten TEM Bench Sheet for 308006 6A was revised to explain that
               the 2nd Chrysotile structure was identified based upon tubular morphology; also the structure number count for the 2nd listed stricture was
               corrected to read "#2"




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                         Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                                                                                                               Desc
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Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                   Desc
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AITACHMENT B: CFSAN OFFICE OF COSMETICS AND COLORS CHAIN OF
CUSTODY FOR1v1
                                                  CF AN
                                     Office of Cosmetics and Colors

                              CHAIN OF CUSTODY FORM

Case/Lab No:   -------




Submitter:   _ Goran Periz.____________________

Assignment No.I Contract No.: HHSF223201810337P      ____________




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Date Sealed:     7/23/2019               Sample Type: 15 samples D-53 to D67




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                                              Chain of Custody




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                                          CHAIN OF CUSTODY FORM
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                                                      Final Disposal Authori_ty_
                                                    Authorization for Disposal

   ltem(s) #:             on   this document is/are no longer needed as evidence and is/are authorized for disposal by (check
   appropriate disposal method)
   D Return to Submitter            0 Destruction
   Name of Authorizing Official:                                        Date:


   Signature:

                                               Witness to Destruction of Evidence


   Item(s) #:                  on this document were des troyed by (Name)
   in my presence on (date)
   Name of Witness to destruction:                                         Signature:                                   Date:




Adapted from: Technical Working Group on Biological Evidence Preservation. The Biological Evidence Preservation Handbook: Best Practices
for Evidence Handlers. U.S. Department of Commerce. National institute of Standards and Technology. 2013 .




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                                                              Release to Lawful Owner

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       NaJne ________________________ ________________________ ��---------------------=-
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       Telephone Number: (________) -- ----------,-----,-­
       Under penalty of law, I certifY that I am the lawful owner of the above item(s).


       Signature:                                                                                            Date: ----


       Copy of Government-issued photo identification is attached. DYes D No

              This foriii is to' be retained. as a permanent.record by the Center for Food Safdy and Applied Nutrition, Ofiice of Cosmetics and Colors.


                                                                                                         Page 2 of 2 pages (See front)




    Adapted from: Technical Working Group on Biological Evidence Presen<ation. The Biological £vidence Preservation Handbook: Best Practices
    for Evidence Handlers. U.S. Department of Commerce, National Institute of Standards and Technology. 2013.




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                AMA Analytical Services. Inc.
                                                         Focused On Results.                   �!,���®
                                                                                                NY ELAPLab 10 10920



                                         Case Narrative
Client Name:           FDA Office of Cosmetics &        Contact:        John Gasper
                       Colors
PO Number:             HHSF223201810337P                Phone:          (240) 402-1133
Job Name/Location:     Task 3- Analysis of              Email:          john.gasper@fdsa. hhs.gov
                       Official Samples (4th Group-
                       15 Samples)
AMA COC Number:        308006-6, 6A, 68/D-58            Date Received: July 24, 2019

    AMA
                   Client Sample No.               Sample Description                      Analytical Method
  Sample No.
                                          Slightly dumpy, white powder with       Mod. PLM ELAP 198.6 /TEM
  308006-6               D-58
                                          a matte appearance                      HAP 198.4

                                                                                  Mod. PLM ELAP 198.6 /TEM
  308006-6A              D-58
                                                                                  HAP 198.4

                                                                                  Mod. PLM ELAP 198.6 /TEM
  308006-68              D-58
                                                                                  HAP 198.4
Requested Analyses: PLM and TEM Analysis for asbestos fibers conducted by Modified NY ELAP Method 198.6 and
Modified NY ELAP Method 198.4

Sample Receip t :
The samples were received by AMA Analytical Services, Inc. on July 24, 2019 at 1058 via in-person drop-off by FDA
representative, Goran Periz. The set consisted of 15 (fifteen) samples submitted in .vzoz, glass jars sealed with scotch
tape. Conditions were checked upon receipt and all sample containers were intact. Most jars were filled approximately
Y, to% full. The sample set was processed on AMA Chain-of-Custody (COC) number 308006. This COC number served as
the internal laboratory job number for tracking purposes. The samples were entered into the AMA laboratory database
on August 12, 2019 at 1151 by   -            . The samples were logged in for analysis in triplicate and each sample
aliquot was assigned a unique laboratory identification number as shown in the table above. After the sample login, the
set was transferred to AMA's lock-box for storage.

The following pictures document the condition of each sample upon receipt at AMA:




                                              Asbestos· lead · Mold · Nano

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Re: FDA Office of Cosmetics & Colors
    COC 308006-6, 6A,6B/D58, Revised 10/11/2019 {Revision #2}

308006-6 6A 6 B/DS8




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�-    AMA Analytical Services, Inc.
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Re: FDA Office of Cosmetics & Colors
    COC 308006-6, 6A,6B/D58, Revised 10/11/2019 {Revision #2}

Sample Preparation
Samples were prepared for P LM and TEM bulk analysis by                  on August 13, 2019 through September 5, 2019.
Sample preparation consisted of the following steps:
   1) Label and weigh two 8ml glass vials for each sample in the set- one vial for the PLM preparation and one vial
       for the TEM preparation.
   2) Weigh out 0.1 to 0.8 grams of material and place in corresponding 8ml glass vial. Record weight.
   3) Burn samples at 480" C for at least 1 2 hours.
   4) Record Post-Ash Weight.
   5) Treat ashed sample with concentrated hydrochloric acid.
   6) Filter acid reduced material onto a pre-weighed 47mm 0.4um PolyCarbonate filter.
   7) Place filter into drying oven for 30 minutes and then record Post-Acid Reduced weight.
   8) Make four PLM slide preparations from the PLM residual ash for each sample in 1.550 dispersion oil. Make
       additional preparations in 1.605, 1.625, 1.680 and 1.700 dispersion oil as necessary for particle identification.
   9) Weigh a portion of the residue from the TEM residual ash and place it into the corresponding pre-weighed
       lOOml jar.
   10) Fill the 100m I jar with deionized water
   11) Sonicate the jars for approximate 5-minutes.
   12) Filter 0.2ml to 1m I of the solution onto a 47mm 0.22um MCE filter.
   13) Dry the filter for 10 minutes then collapse, carbon coat, and place on a 3 T EM grids.

PLM Analysis
Analysis was performed in accordance with NY ELAP 198.6 protocols. The analysis was conducted using an Olympus BH-
2 polarized light microscope (PLM) equipped with a dispersion staining objective. All four slide preparations for each
aliquot were examined. 400-point count was performed for those samples on which asbestos was observed. If no
asbestos was detected on any of the slides, the percentage of fibrous components was determined by visual estimation.
The results of this analysis are detailed below in the Discussion and Interpretation of Analytical Findings section for each
individual sample.

TEM Analysis
Analysis was performed in accordance with modified NY ELAP Method 198.4 protocols. The analysis was performed
using a JEOL JEM-100CX II transmission electron microscope (TEM), equipped with a Thermo Fisher Quest Energy
Dispersive X-Ray Analyzer (EDXA), at magnifications of 19,000x. Two grids for each aliquot were examined. Twenty (20)
grid openings were examined per sample.

Modifications to the NY E LAP 198.4 Method were:
  1) The residue was not placed in alcohol and prepared using the quick drop method. To obtain a more uniform
       preparation, the residue was placed in a jar and filled with 100m I of deionized water. The jar was sonicated, and
       a portion of the solution was filtered onto a 47mm 0.22um MCE filter.
  2) The tremolite and chrysotile were not visually estimated. The length and width of the observed particles were
        measured, and the mass of each amphibole particle was calculated using the ASTM 05756 method.
  3) All particles identified as tremolite were included with the counts/concentrations, regardless of size and aspect
       ratio.

The results of this analysis are detailed below in the Discussion and Interpretation of Analytical Findings section for each
individual sample.

Calculations
        ASTM D5756 Mass
        M=n/4 l * W2 * D * 10-u
        M=mass
        L=length

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Re: FDA Office of Cosmetics & Colors
    COC 308006-6, 6A,6B/D58, Revised 10/11/2019 {Revision #2}

        W=width
        D =density
        Percent Calculation
        EFA(mm2) *' lOOml * MA(g) * RW(g)
         VF(ml) *' IW(g) * AA(mm2) * RJ(g)
                The calculated value is then multiplied by 100 to convert it to percent.

        EFA-Effective filter area
        MA-Mass of asbestos
        RW- Weight of residue
        VF- Volume filtered
        IW- Initial weight of the sample
        AA-Area analyzed
        RJ -Weight of residue placed into the jar

Limit of Detection and Quantification
We used the mass of a 0.5 x 0.04-micron tremolite or chrysotile fiber, depending on what was found in each sample, as
the basis for our calculations. Limit of detection was defined as 1 fiber and limit of quantification was defined as 4
fibers.

Some aliquots of sample 058 contained very small amounts of asbestos that were either at or below our 4-fiber limit of
quantification. For these samples we defined our limit of quantification as follows:
        308006-6A: mass of the two observed chrysotile structures plus the mass of two chrysotile fibers measuring
                     0.5 x 0.04 microns
        308006-68: mass of 4 chrysotile fibers measuring 0.5 x 0.04-micron

Discussion and Interpretation of Analytical Findings:
308006-6, 6A. 68 Client Sample D-58
 PLM
All three aliquots of sample D-58 were analyzed                              on September 13, 2019. No asbestos or non­
asbestos amphibole variants were detected the sam                        were calculated using the equations detailed in the
calculations section.

        308006-6        NAD
        308006-6A       NAD
        308006-68       NAD

TEM
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1
Sample 6 was analyzed by
    on September 7, 201             mary pa
                                               on September 3, 2019. Samples 6A and 68 were analyzed by
                                               le observed was talc along with a few talc fibers, talc ribbons and mica
  rticles. Two Chrysotile structures were detected on the aliquot for 6A and four chrysotile structures were detected on
the aliquot for 68. The results were calculated using the equations detailed in the calculations section.

        308006-6        NAD
        308006-6A       <0.00002%
        308006-68       0.00002%

Below are pictures, diffraction patterns, and chemistry from some of the observed particles. The unidentified peaks in
chemistry spectra are copper, zinc, and carbon. Those peaks are from the TEM specimen holder and specimen grid.




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Re: FDA Office of Cosmetics & Colors
    COC 308006-6, 6A,6B/D58, Revised 10/11/2019 {Revision #2}

Sample 308006-6A, Chrysotile Structures
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Diffraction Pattern from Chrysotile Structure 1 pictured above




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      AMA Analytical Services, Inc.




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Re: FDA Office of Cosmetics & Colors
    COC 308006-6, 6A,6B/D58, Revised 10/11/2019 {Revision #2}

Sample 308006-68, Chrysotile Structure 1




                         ChryaotileCiuster
                         -
                                                                                                       400nm

                         c.l: 0..0 14211 ...,...                                                       onot Moa; noo x
                                                                                                       HV-1�

                         15:33 817/2011                                                                AMA AnolytlcoiS«vbto, Inc
                         TEM Mode: lmao.ng

                         C.l'nef'll: NANOSPRTS, Elcpoaute: 800 {Mil. a I •ld. rramn, C8in: 1, Bin: 1
                         Mlcrolcoplst CD

                         o.mma : 1.110, No Shupeo;ng, N""""' Contnm


Diffraction Pattern from Chrysotile Structure pictured above




                        301001
                        Clwysotilo Oil                                                                 10DfHA\
                        3011C>C161b                                                                    HV•tOOkV
                        15:32 !IIT/201i                                                                Cam Len: 0.2200 m
                        TEM -: Dillnction                                                              AMA AnolytiQI S.rvicea, Inc
                        Mic;rosc;opist CD
                        C•men: NANOSPRTS, &posure: 100 (ms) • 5 ald. frames, Gain: 1, Bin: 1
                        c..nma: LDO, No Shwpening, NDnMI Comr.st




                                                                                                                                                Page 6 of 16
      AMA Analytical Services, Inc.




                                                                                                                                                          JNJTALC001284328

                                                                                                                                     Prudencio Pltfs' Ex. 1571 pg12
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Re: FDA Office of Cosmetics & Colors
    COC 308006-6, 6A,6B/D58, Revised 10/11/2019 {Re       t s t..:. o
                                                       v.:.."=
                                                  :..= :            :. :..:.
                                                                       n.:..:. 2,_
                                                                             #.::.
                                                                                ). _        _______ _______ ______
                                                                                                                  __,




Chemistry from Chrysotile Structure pictured above
 Ful scale counts: 22                                                   308006-68(1)


       20         0




                                                            ·· · - --



       15                         Si



                                                                                                                                 ····-- - - ..




       10




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        0                                                   !Ill I      1111 II ' 'I II II II
                                                                                   I            1

            0            1             2            3                   4              5        6           7      8         9                   10
                                                                                       keV
308006-68, Chrysotile Structure 2




                                ! -�'2!
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Re: FDA Office of Cosmetics & Colors
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Diffraction Pattern from Chrysotile Structure pictured above




                          Clwysotilo                                                                 10DI11A\
                          3011005-Q)                                                                 HV•100kY
                          11:03 i/712!)10                                                            c.n Len: 0.2200 m
                          TEM Mode: Dlflnctlon                                                       AliA Analytical Servlcea, Inc
                          Mlc;roacopiot CD
                          Cam..-:a: NANOSPRTI, &pocuR: 100 (me) • I std.. frames, Gain: 1, Bin.: 1
                          Gamma: 1.00, No Stwpening, Normal Cont
                                                               r..t


308006-6, Talc Particle




                          301006 FD�052.jpg
                          TalcPa.rtide
                                                                                                     -

                          C.l: 0.001774 ,..,.,.,.
                                                                                                     500nm

                          17:11�10                                                                   Direct Mlg:AOOx
                                                                                                     HV•100W

                          TEM Modo: lm•ng                                                            AMA An.-lytital Se:rvitea, Inc

                          C•men: NAHOSMT4, &posure: 800 {ms) • S drift frames, Glin: 1, Bin: 1
                          Microscopist MO

                          Gamma: UN,, No St.rpening, Nonru�l ContrwU:




                                                                                                                                                 Page 8 of 16
      AMA Analytical Services, Inc.




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Re: FDA Office of Cosmetics & Colors
    COC 308006-6, 6A,6B/D58, Revised 10/11/2019 {Revision #2}

Hexagonal Diffraction Pattern from Talc Particle pictured above




                                                                                                   10n 11/A\
                                                                                                   HV=100kV
                          Talc Particle

                                                                                                   Cam Len: 0.2200 m
                          t7:19 9/312019
                          TEM-:Dtlfractlon

                          CanMt'a: NANOSPRTS, Exposure: 800 (ms) x5 drift fn1mu, Gain: 1, Bin: 1
                          Mlcrooca    cpl t MG                                                     AliA Analytical Servlcea,lnc

                          Gamma: 1.00, No Sharpening, Nonnal contrast



Chemistry from Talc Particle pictured above
 Ful scale counts: 377                                                    308006-6(1)




     300
                                Si


               0


     200                 Mg




     100




       0

                                                                                         keV


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                                                                                                                                                       JNJTALC001284331

                                                                                                                                  Prudencio Pltfs' Ex. 1571 pg15
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Re: FDA Office of Cosmetics & Colors
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306008-6, Mica Particle




                          Mica                                                                     -nm

                                                                                                   Direct Mag: 7200 X
                          C.l: 0.001ut pm/plx                                                      HV•1ootV

                          TEll Mode: Imaging                                                       AliA Analytical Servk:ea, Inc
                          11:21 !113/201i


                          camv.a: NAHOSPRTI, ExpocuR: 100 (me) a I dtift rramec. Cain: 1, Bin: 1
                          Mletoacoplot MG

                          Gamma: 1.00, No Stwpening, Nor11al Cont
                                                                r..t



Diffraction Pattern from Mica Particle pictured above




                       MicaParticte

                                                                                                   c.m Len: o..zzoo m
                       17:22 !11312019
                       TEMMode: Diffracti on

                       Cameta: NANOSPRTI, Ex.posulll: 800 (ml) a I drift rnmes, Gain: 1, Bin: 1
                       MicroKOpiat: MG                                                             AMA AMJytical Servlcu, Inc

                       Gamma: 1.00, No Sl\afP8t"ing, Normal contrast




                                                                                                                                              Page 10 of 16
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Re: FDA Office of Cosmetics & Colors
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Chemistry from Mica Particle pictured above
 Ful scale counts: 337                                                      308006-6(2)




               0
     300




                              Si

                         AI

     100




       0
           0        1               2                 3                 4                 5               6                 7         8      9           10
                                                                                          keV

308006-6, Talc Fiber




                         301006 F0�057.jpg
                         Talc Fiber
                                                                                                     -

                         Col: 0.7$1121 nm/J>Ix
                                                                                                     200nm

                                                                                                     Direct Mig: 14000 x.
                                                                                                     HV•IOOkV

                         TEll -: Imaging                                                             AltA Analytical: s.Mcn., Inc
                         17:27!11312019


                         C•m.,..; NANOSPRTS, E.posufli: 100 (me) a 5 drift frames, Gain: 1, Bin: 1
                         MicroscoptSt MG

                         c.mma: 1_00, No St..rpening, Normal Conrr.at




�-     AMA Analytical Services, Inc.
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Re: FDA Office of Cosmetics & Colors
    COC 308006-6, 6A,6B/D58, Revised 10/11/2019 {Revision #2}

Diffraction Pattern from Talc Fiber pictured above




                         ....... FDA_Ol58.jpg
                                                                                                10n 11/A\
                                                                                                HV=100kV
                         Talc:Fibor

                                                                                                Cam Len: 0.2200 m
                         17:2& 9/312019


                                                                                                AliA Analytical Services, Inc
                         TEM-:�on

                         Cameta: NANOSPRTS, Exposure: 800 (ms) x5 drift fnmu, Gain: 1, Bin: 1
                         Mlcrooccplat MG

                         Gamma: 1.00, No Sharpening, Nonnal contrast



Chemistry from Talc Fiber pictured above
 Ful scale counts: 235                                                   308006-6(3}




         0          1              2                3                4                5             6                  7          8      9           10
                                                                                      keV


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                                                                                                                                             Page 12 of 16




                                                                                                                                                        JNJTALC001284334

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Re: FDA Office of Cosmetics & Colors
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308006-6, Talc Ribbon




                         Talc: Ribbon
                         30- FOA_051.jpg                                                           -
                                                                                                   500nm

                                                                                                   Direct Mig: 5800 x.
                         C.l: 0.001774 pm/plx                                                      HV•100W

                                                                                                   AliA Analytical s.rvk:ea, Inc
                         17:37 i/312011
                         TEll Mode: �ng

                         Camot':ll: NAHOSPRTI1 E.xpocuR: 100 (ms) a I dtift Ita� Cain: 1, Bin: 1
                         Mlcroscopiot MG

                         Gamma: 1.00, No SMrpening, Normal Cont  r..t


Diffraction Pattern from Talc Ribbon pictured above




                        308006 FDA_O&O.fpg                                                         -
                        Tillie Ribbon                                                              1MI1/A\

                                                                                                   cam Len: o..zzoo m
                        17:38913/2019                                                              HV•100kV
                        TEM Moe»: Diffracti on

                        Camet��: NANOSPRTI, bposulll: BOO (ml) a I drift fnmes, Gain; 1, Bin: 1
                        Micro.copiat: MG                                                           AMA AMiytical Setvlcu, Inc

                        Gamma: 1.00. No Sl\arpenino. Normal contrast




                                                                                                                                              Page 13 of 16
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Re: FDA Office of Cosmetics & Colors
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Chemistry from Talc Ribbon pictured above
 Ful scale counts: 155                                                       308006-6(4)




         0          1                2                 3                 4                 5              6                 7        8      9           10
                                                                                           keV

308006-6, Talc Fiber




                                                   0




                         301001fOJ\...011.jpg                                                         -
                         Talc Fiber                                                                   200nm

                                                                                                      Direct Mig: 10000 x.
                         Col: 0.00102t IMI'Iplll                                                      HV•100kV

                         "T£M _, Imaging                                                              AltA Analytical s.Mcn, Inc
                         17:50 11/312n19


                         C•m....; NANOSPRTS, bposufli: 100 (me) a 5 drirt fl'lltna, Gain: 11 Bin: 1
                         MietoscoptOt MG

                         c.mma: 1.00, No St..rpening, NonYil Conrr.at




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Re: FDA Office of Cosmetics & Colors
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Diffraction Pattern from Talc Fiber pictured above




                          TalcFbor
                               i                                                                    10n 11/Al

                                                                                                    Cam Len: 0.2200 m
                          17:51 91312019                                                            HV=100kV
                          TEM-:�on

                          Cameta: NANOSPRTS, Exposure: 800 (ms) x5 drift fnlmet:, Gain: 1, Bin: 1
                          Mlcroaccplat MG                                                           AliA Analytical Services, Inc

                          Gamma: 1.00, No Sharpening, Nonnal contrast



Chemistry from Talc Fiber pictured above
 Ful scale counts: 264                                                      308006-6(5)

                                Si

     250-
               0



     200-
                         Mg



     150-




     100-




      50-




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                                                                                                                           7
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                                                                                                                                      8
                                                                                                                                          __


                                                                                                                                               9            10
                                                                                          keV


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Re: FDA Office of Cosmetics & Colors
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QC Discussion:
During preparation, three blank control samples and one reference control sample were prepared. These samples were
prepared alongside the customer samples. The blank samples were prepared using Sigma-Aldrich Talc Powder, <10
micron, and was analyzed by   -               on September 18, 2019. No asbestos was detected on the blank samples.
The reference sample was made from the same Sigma-Aldrich talc powder spiked with 10% Chrysotile. The reference
sample was analyzed by   -               on September 18, 2019 and found to be within acceptable limits. Additionally,
filter blanks were prepared with each batch of carbon coated filters. Filter blank number E B-54155 was associated with
the carbon coating for samples 308006-6, 6A, 6B/D-58. No asbestos was detected on the filter blank sample.

Our laboratory information management system (LIMS) randomly selected samples 308006-2/D-54 and 308006-15/D-67
for additional replicate QC analysis. Separate preparations were made for PlM and TEM analysis. The replicate QC
analysis was performed by  -              on September 13, 2019, 2019 for PlM analysis and by     -           on
September 18, 2019 for TEM analysis. The QC results matched the original analysis.

Attachments:
The following items are attached to this case narrative for your reference:
    1) Sample Log- In Sheet
    2) Daily PlM Scope Calibration log
    3) Refractive Index Oil Calibration Log
    4) Daily TEM Scope Calibration log
    5) QC Results Summary
    6) Replicate & Duplicate QC Chart for                          for samples analyzed between 1/1/2019 and
        9/18/2019
    7) Replicate & Duplicate QC Chart for                    for samples analyzed between 1/1/2019 and 9/18/2019
    8) Replicate & Duplicate QC Chart for                       for samples analyzed between 1/1/2018 and 9/18/2019
    9) Raw Data Sheets
            a. Gravimetric Data
            b. Filtration Worksheets
            c. PlM Analysis
            d. TEM Analysis
            e. QC Samples

I certify that all information contained in this report pertaining to laboratory events, procedures, and protocols is true
and accurately describes the handling of this project by AMA Analytical Services, Inc. and its personnel.




                                         10/11/2019
Andreas Saldivar                         Date
laboratory Director




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      AMA Analytical Services. Inc.




                                                                                                                             JNJTALC001284338

                                                                                               Prudencio Pltfs' Ex. 1571 pg22
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Login Sheet

Client:           US Food & Drug Adm n sra on                     Job Name:         Task 3 - Anayss of Ollc a Samp es              Chain of Custody:   308006
Date Submitted:   07/24/2019                                      Job Location:     4 h Group - 15 Samp es                         PO Number:            SF22520181 0337P
Due Date:         09/1 3/2019 5:00pm                              Job Number:       GUN 0001



AMA Sample Number                                        Client Sample Number                                 Analysis Type(s) and Sample Type(s)




                                                        -




                                           4475 Forbes B vd. · La nha m, MD, 20706 · (301 ) 459 2640 · To Free (800} 346 0961 · Fax (301 } 459 2643                           1/4




                                                                                                                                                                                    JNJTALC001 284339

                                                                                                                                                                Prudencio Pltfs' Ex. 1571 pg23
                Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                                  Desc
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AMA Sample Number                         Client Sample Number                                Analysis Type(s) and Sample Type(s)

308006-6                                  D-58                                                PLM: ELAP 1 98.6 NOB
                                                                                              TEM: Bu k Upgrade

308006-6A                                 D-58                                                 PLM: ELAP 1 98.6 NOB
                                                                                              TEM: Bu k Upgrade

308006-68                                 D-58                                                PLM: ELAP 1 98.6 NOB
                                                                                              TEM: Bu k Upgrade

308006-6C                                 0-58                                                PLM: ELAP 1 98.6 NOB
                                                                                              TEM: Bu k Upgrade




-




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AMA Sample Number                                  Client Sample Number                                Analysis Type(s) and Sample Type(s)




Special Instructions:
Use FDA Protocols. Samples are in Asbestos Sample Lock Box (See                                   for Key). ALL PLM & TEM Analysts: Please record the date & amount
of time spent analyzing each sample in the comments section of the bench sheet. Please save all pictures, graphs, etc. to L:\Case Narratives\FDA
Project\308006



                                      4475 Forbes B vd. · Lanham, MD, 20706 · (301 ) 459 2640 ·To Free (800) 346 0961 · Fax (301) 459 2643                            3/4




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9 /30/201 9          Client req uested that we analyze a 4th aliquot for sample 308006 6/058; this was added as 308006 6C
1 0/1 /201 9 by     : Client req uested that we cancel their request to analyze 308006 6C, Preparation was mostly complete by the time we received the
cancellation      ce, but no analysis was performed.




                                       4475 Forbes B vd. · Lanham, MD, 20706 · (301 ) 459 2640 · To Free (800) 346 0961 · Fax (301) 459 2643                 4/4




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           Daily C-alibrations for PLM Scope #_-=2.=---                                             Date: C,' 11e. I l!l...___
                                                                                                    Analyst lnWal s: - -

           Cleaning:
           Oculars   r            Objectives      /       Field Lc:ns__c._ Mechanical Stage          L_ Mow Body              ,r
           AUgnmcnt:
           _r_Koh ler I llu mination (or as clo ·e to it a.1 scope allows)
             /   Polari2cr & Annlyzcr at 90 degrees to one onother
             '   Polari7er & AJu1 lyzer aligned with reticule cross h�irs
           --;;-A xis of rotation of�tage centered in field of view
             I Central stop of the D. S. o�jective alig ned with condenser aperture
           R efractive lndcx Colors of Pennancnl 1 .680 Amosi Lc:
        'lte- Parallcl wavelength            � 6.Q__Perpend lcular wavelength


           Comments/other procedures performed:




           Daily Calibrations for PLM Scope #                    _..;.£.                            Dale:   'f 1 1 ; I f 9
                                                                                                              [nitiak--
                                                              _     ___


                                                                                                    Analyst

           Cleanin :.
                                                                            I      Mechllnical Stage.__L.___ Main B ody__:'-
                                                                                                                          / ---
           Oculars 1              Objectives 1            Field Lens
           /\lignment:
          _,_Kohle r Illumination (or as close to it as scope allows)
             , Polarizer & Analyzer at 90 degrees to one another
            ; Polarizer & Analyzer aligned with ret icu l e cross hairs
          _ ,._Axis of rotation of I age centered in field of view
          __{__Central stop of the D.S. obj ctiv aligned with condenser nperture
          Refractiv Index Colors ofPc1mancnt 1 680 Amosite:
         �aral lel wavelength              l � ieJpendicular wavelength

          Comments/other procedures p crfonncd :




          Daily Calibrations for PLM                Scope #----)_=-----
                                                                 -=                                 Date:9 I { 6 ! (
                                                                                                    Analyst l�itials-


                                                    t"    Field Lens        I'                        ,.
                                                                                   Mechanical Stage____ Main Body            t"



         �K ltler Jllurni.natiOJ (or as close to it as scope allows)
         �Polarizer & Analyzer at 90 degrees to one another
          r Polarizer & Analyzer aligned with rctic.ulc cross hairs

          t Axis of rotation of stage centered in field or view
         ---L- Central s top of the D_S. objective �ligned with condenser aperture

          Refractive Index Colors ofPcrJllanent 1 680 Arnosite:
        'fi(.D.Pnmll I wnvelt:�ngth                         t,tz_e.Po.rpeudicnlar wavelength

(         Comments/other procedures perfonned:



         Revi>iQil P, Jssucd 12/lc.'JO; approv«l: PC
          IJireclOJy. UJoe)J)aity microscope log shccls




                                                                                                                                    JNJTALC001284343

                                                                                                                Prudencio Pltfs' Ex. 1571 pg27
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Revisiort 2. February 1 9, 2007




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 C h a i n Of C u stody #308006                                                                                                     + Add CoG


   General           Samples                Documents           QC Results




 QC Sa mples
                          Original        Original    PLM                   PLM     Original   Original    TEM
 Date          Sample     PLM             PLM         QC       PLM QC       R       TEM        TEM         QC        TEM QC      TEM R
 Analyzed      Number     Analyst         Result      Result   Analyst      Value   Analyst    Result      Result    Analyst     Value    Comments

 09/09/201 9   308006-                    0.00                 sw           0.00    MG         0.00        0.00      CD          0.00     Analysis
               1 6RQC                                                                                                                     9/18/19

 09/09/201 9   308006-                    0.00                 sw           0.00    MG         0.00        0.00      CD          0.00     Analysis:
               1 7RQC                                                                                                                     9/18/19




 Reference Samples

 Sample Number           Tile #                                Asbestos Type         Percent Asbestos     Result     Created Date        Comments

 Talc Ref                Talc Ref 1 0 %                        Chrysotile            1 0.00               Pass      09/18/2019




 Blan ks
 Blank Number              Date                                          Asbestos Percentage              Asbestos Type             Comments

 NB1 9-646                 09/1 8/201 9          (b) (6)                 0.0

 NB1 9-645                 09/1 8/201 9                                  0.0

 NB1 9-647                 09/1 8/201 9                                  0.0




 PLM Error( s)
 No Resu lts



 TEM NOB Error( s)
 No Results




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                      Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                                               Desc
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PLM QC Chart

QC Type: Duplicate
Analyst: b) (6)
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Dates Analyzed : 0110 112019 - 09118120 19


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R = [Original Result] - [QC Result] / (Average)




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                          Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                                                         Desc
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PLM QC Chart

QC Type: Replicate
Analyst: (b) (6)
Dates Analyzed: 0110 112019 - 09118120 19


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                    Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                                                 Desc
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NOB QC Chart


Analyst
Dates Analyzed : 0 1/0 1/2019 - 09/18/20 19


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                    Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                                                Desc
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NOB QC Chart

ac Type: Replicate
Analyst: (b) (6)
Dates Analyzed: 0 1/0 1/20 1 9 - 09/18120 1 9


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R = (Or g na Resu t) - (QC Resu t) / (Average]




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                    Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                                                 Desc
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NOB QC Chart

ac Type: Duplicate
Analyst: (b) (6)
Dates Analyzed : 0 1/0 1/2019 - 09/1 8120 19


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NOB QC Chart

ac Type: Replicate
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Dates Analyzed : 0 1/0 1/20 1 9 - 09/18120 1 9


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 A M A Ar1 alyti c a l Services, I n c.                                               Gravi metric Reduction and Filtration Bench SllE!et for Mo dified ELAIP 198.4
                        Focused On R e s u l t s .
                                                                      TEM Preparations
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                 Case 23-01092-MBK Doc 46-4 Filed 04/17/23 Entered 04/17/23 15:40:58                                                                          Desc
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                                                                                           Gravimetric Reduction and Fil rat i o          Bench Sheet for Modified ELAP 198.4
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Ch emistry from Chrysotile Structure pictured above
Full scale counts: 22                                                       308006-68(1)


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A Backgrounder on Talc and
Talc Based Powders
Lorena Weber Telofski, CMPP
Scientific Engagement Leader
Baby Skincare, North America




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What is Talc?




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Hydrated Magnesium Silicate - Mg 6 Si8 O20 (OH)4

• A naturally occurring mineral; mined from ore deposits
• As used in body powders defined as a powdered
  hydrous magnesium silicate, which belongs to the
  family of sheet silicates (e.g., a type of clay)
• It has a flat, plate-like structure, giving it is natural
  slippery and soft feel when spread. It is the softest
  known mineral.
• Heat stable
• Inert


                        Schematic structure of talc
       Industrial Minerals Association - Europe (IMA-Europe), 2012
                                                                               Golenafolren
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Cosmetic Talc



                                                                   Hydrophobic plate




                                                                          Hydrophilic edges
             16U



  Unique Properties of Talc Make it an Excellent Powder in High Humidity
    Water Molecules Adsorb On the Surface (hydrophobic behaviour)
                             Resists “Wetting”

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End Uses (Grades Vary)
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• Industrial
 – Ceramics, coatings, paints, paper, roofing materials, rubber, waste
   water treatment
• Agricultural
 – Anti-caking, dispersant for fertilizers
• Food
 – Anti-stick coating (candies, gum); processing of olive oil; flow agent
   for rice
• Cosmetic
 – Absorbent, Opacifying Agent, Skin Protectant, Slip Modifier
• Pharmaceutical
 – Bulking agent, anti-stick agent for medications (e.g., pills)
 – Used for pleurodesis (treatment of malignant pleural effusions)

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Examples of Cosmetic Use


• Antiperspirants, Deodorants
• Body Powders (Baby, Adult)
• Bath, Shower Products
• Beauty Products
• Creams, Lotions
• Hair Care Products
• Lipsticks
• Shaving Products
• Sun Protection Products


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Ensuring Safety of Talc Powder

Microbiology
Mineral Purity




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Important to Maintain Microbial Purity


• 1946 New Zealand
 – Case of Tetanus from microbe Clostridium tetani
• Essential to Ensure Safe Microburden
• Common Processes
 – Heat Treatment
 – Steam Sterilization




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 Similar Chemistry Doesn’t Mean SAME




                               DIAMOND                             GRAPHITE
Image sourced from Google Images
                                                                                               Gohmonsfolwen
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Talc and Asbestos Share Similar Chemical
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Components But Could Not Be More Different!
• Differences are often misunderstood
• Each individually formed under different geological
  conditions
• Mined from separate ore bodies
• Myth that these two ores are co-mined or commonly
  associated
• Absence of asbestos in talc is routinely confirmed through
  a battery of tests
 – Talc suppliers utilize sophisticated testing to comply with regulatory
   and industry-wide requirements and with their own internal SOPs
 – X-ray diffraction, optical and electron microscopy

                   Asbestos is HIGHLY Regulated
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   Physical Structure (Morphology) of Asbestos is
                                Exhibit Exhibits 12-19 to Satterley Declaration Page 85 of 118



   Vastly Different
   • Asbestos is fiber-like (needle-like; clusters or individuals)
   • High tensile strength, high durability
   • The needle-like structure is the property that gives it the
     ability to imbed in pulmonary tissue
   • Carcinogenic properties due to morphological structure
     (e.g., fibrous characteristics)




Images Sourced From - What is Asbestos? The challenges of defining and characterizing asbestos in a
changing regulatory world. Session 2 – Analysis for Asbestos by X-ray Diffraction and Polarized Light
Microscopy: Strengths and Limitations. RJ Lee Group, Inc. 2009                                                CONSUMER & PERSONAL PRODUCTS WORLDWIDE
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Grades of Talc – Two Important Groupings

• Industrial
 – Mixture of talc with other similar minerals / rocks found in association
 – Absence of asbestos / asbestiform fibers
• Cosmetic / Pharmaceutical / Food Grades
 – Pure grade of 99+% hydrated magnesium silicate
 – Absence of asbestos / asbestiform fibers
 – Limits on other mineral constituents (e.g., quartz)
 – Slight differences food vs. USP



           Cosmetic Grade Talc is Produced to
      United States Pharmacopeia (USP) Standards

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To Sum - Talc Safety


• Publications on safety and non-toxic nature of talc go
  back to 1944
• Cosmetic grade talc – documented evidence of “absence
  of asbestos” since the 1970s
 – Asbestos is highly regulated




                KEY TAKEAWAY
    Talc and Asbestos are VERY DIFFERENT


                                                                                        CONSUMER
                                                                                         OF JOHN   MPANIES,   INC




                                                                                   ON
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Talc – Let’s Discuss Its Safe Use

In Use Application
Lung Effects
Ovarian Effects




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In Use Application
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Avoiding Ingestion, Choking, Blocking Nose / Mouth

 • Can occur through misuse - infant or sibling inverts
   container over face; good labeling required

 • EU Labeling Requirement for Children < 3 Years
  – Warn to keep powder away from children’s nose and mouth


 • Canada Labeling Requirement for Infants / Children
  – Cautionary Statements - "Keep out of reach of children; "Keep
    powder away from child's face to avoid inhalation which can cause
    breathing problems.”



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JOHNSON’S® Baby Powder – Original
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“Shaker” Package
BABY POWDER (TALC)
SAFETY ICONS                                           • Provides important
       WARNING: Keep             powder                  warning statement to
       away from child’s face to                         avoid misuse / promote
       avoid inhalation, which can
                                                         safe use
       cause  breathing problems.
       Avoid contact with the eyes.                    • Provides directions for
       For external use only.
                                                         use to further promote
 afi

       To Use:
       1. Shake powder directly into                     safe use / to avoid
       your hand, away from the                          misuse
       face, before smoothing onto
       the skin.                                       • Uses icons (pictures) to
       2. Close tightly after use,                       enhance understanding
       store in a cool,     dry place.

                                                                                    CONSUMER & PERSONAL PRODUCTS WORLDWIDE
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  Lung Effects

  • Occupational cohort studies of talc inhalation did not
    show an increased risk of lung cancer*
     – 5 published studies
        • 4 of the 5 Studies - no case of mesothelioma** (mesothelioma not
          studied in the 5th study)
        • In 2 of these studies that had dose-response measurements, no excess
          risk was found in the highest exposed group
  • Results of studies involving miners and millers support
    lack of association between talc and any cancer
     – Miners exposed to high levels of talc sometimes developed fibrosis
       (which can occur with any dust); there was no excess of
       pulmonary tumors

* Also no increased risk of ovarian cancer
** Mesothelioma known to be exclusively caused by asbestos

Note, references included in bibliography.
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     Lung Effects

     • Cohort studies of very high dose pleurodesis* (~8 grams)
       to treat pneumothorax patients showed no subsequent
       risk of cancer (talc* applied directly to the lung pleura)
         – Talc pleurodesis fist reported in 19351
         – Performed routinely for preventing recurrent pneumothorax and
           effusions with a success rate of over 90%
         – Talc is the preferred agent
     •Treatment of pneumothorax patients, talc applied directly to the lung pleura
     ** Sterile talc


                     99 Patients Were Followed For Over 20 Years
                                  No Increase of Cancer2
1. Bethune N. Pleural poudrage: a new technique for the deliberate production of pleural adhesions as a preliminary
   to lobectomy. J Thorac Surg. 1935; 4:251-161.
2. Lange P, Mortensen J, Groth S. Lung function 22-35 years after treatment of idiopathic spontaneous
   pneumothorax with talc poudrage or simple drainage. Thorax 1988; 43(7) 559-561.
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 Lung Effects


 • In over 100 years of use, no case of lung damage from
   normal use
 • Normal infant exposure: 0.007 mg/hr/m3 breathed*1
   – Lifetime Rat Study – No Effect at 6000x the infant
     exposure level2
 • Natural lung defense mechanisms that normally deal with
   dust in the air can deal with exposures above normal
   infant exposure
 * Based on 5 applications / day



1.   Hildick-Smith GY. The biology of talc. British Journal of Industrial Medicine.
     1976;33(217):229.
2.   Wagner JC, Berry G, Cooke TJ, Hill RJ, Pooley FD, Skidmore JW. Animal
     experiments with talc. Inhaled Part. 1975; 4 Pt2:647-654
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Ovarian Effects




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      Historical Context
      • Talc first came to attention of scientists because of
        compositional similarities to asbestos
         – Asbestos is a known and potent carcinogen
         – Talc has not been shown to have carcinogenic effects of asbestos
      • Cramer Hypothesis
         – 1982 - Epidemiologic association between ovarian cancer and
           cosmetic talc first published by Prof. Daniel Cramer and his
           research group at Harvard University1
         – 1992 – Follow-up case-control study2 (OR 1.5; CI 1.1-2.7)
         – Cramer’s hypothesis for linking talc and ovarian cancer
           • Some ovarian tumors histologically resemble mesotheliomas (a
             tumor only caused by asbestos exposure)
           • Talc and asbestos share similar chemical components
1 Cramer DW, Welch WR, Scully RE, Wojciechowski CA (1982) Ovarian cancer and talc. Cancer
  50:372-376.
2 Harlow BL, Cramer DW, Bell DA, Welch WR (1992) Perineal exposure to talc and ovarian cancer
  risk. Obstet Gynecol 80: 19-26                                                                  dofmonafofmen
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      Evidence
      • Reported Adult Talc Perineal Dusting – 21 studies* 1,2
          – Odds Ratio (OR) 1.3
          – No author reported a causal role for talc
          – Dose Response – 10 studies*
            • Most show no dose response with increasing usage
                  – Only two showed an increasing trend in the OR with higher dose
              • Some show inverse response
                  – Lowest exposure associated with highest risk
                  – Highest exposure associated with lowest risk
          – The one epidemiological study that permitted women to
            acknowledge that they did not know the ingredients in their powder
            showed no association with ovarian cancer risk
       * Meta Analysis

1.Langseth H, Hankinson SE, Siemiatrycki J. Welderpass E Perineal talc exposure and subsequent epithelial ovarian
cancer. (2008) J Epidemiol Community Health 62:358-360. (Meta analysis performed pooling and reviewing data of
20 case-control studies.) (OR 1.35, CI 1.26-1.46)
2. Rosenblatt KA, Weiss NS, Cushing-Haugen KL, Wicklund KG, Rossing MA. Genital powder exposure and the risk
of epithelial ovarian cancer. (2011) Cancer Causes Control 22:737-742. IR 1,27, CI 1.02-2.37).
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                                                                                                                           CONSUMER & PERSONAL PRODUCTS WORLDWIDE
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    Evidence
    • Only One Prospective Cohort Study – Gertig, et al, 20001
        – Nurse’s Health Study (established 1976)
        – Cohort of 121,700 female RNs were questioned about behaviors
          and followed over a 14 year time period (1982-1996).
        – 307 nurses developed OC
        – Findings
            • Perineal talc use not associated with risk for ovarian cancer (RR 1.09, CI
              0.86-1.37)
            • 160 (of 307) - serous type cancers;
              – 84 did not use talc, 76 did use talc
              – Adjusted RR 1.33; CI 0.98 – 1.82.
              – Authors commented that perineal talc use may modestly increase the
                risk of serous ovarian cancer
            • No dose response shown
    • Conclusion - Talc is not a causal factor for ovarian cancer
        – IARC (2006) - similarly concluded
1. Gertig DM, Hunter DJ, Cramer DW, Colditz GA, Speizer FE, Willett WC, Hankinson SE. Prospective study of
   talc use and ovarian cancer, J Natl Cancer Institute (2000) 92(3):249-252.
                                                                                                               dofmonafofmen
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  Evidence

  • Sanitary Napkin with Talc Exposure -12 Studies*
    – No significant increased risk of ovarian cancer
  • Talc Dusted Diaphragm – 9 Studies*
     – No significant increased risk of ovarian cancer
  • Talc Dusted Condom – 5 Studies*
     – No significant increased risk of ovarian cancer
     – Time trend studies of talc-dusted condom use do not show a
       correlation with ovarian cancer incidence rates
  • Male Genital Talc Use – 2 Studies*
     – No significant increased risk of ovarian cancer

  * Meta Analysis



Note, references included in bibliography.
                                                                                               dofmonafofmen
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Evidence

• Occupational cohort studies of talc inhalation
 – No significant increased risk of lung and ovarian cancer
• Cohort studies of talc pleurodesis (~ 8 grams)
 – No statistically increased risk of cancer
• Experimental animal studies have not demonstrated that
  talc induces cancer
• Studies of particle migration in the female reproductive
  tract are inconclusive
• Theory of talc induced inflammation / oxidative stress is
  not supported
 – Numerous studies show no positive association between
   gynecologic conditions and ovarian cancer


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Risk Factors for Ovarian Cancer (Epithelial)
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Evidence of Genuine Associations
         Factors Known to Contribute                               Factors Known to Protect
Family History – maternal or paternal
Personal History – breast cancer
Age – post menopause                                        Age - rare ≤ 40 years of age
Obesity - Body Mass Index (BMI) ≥ 30                        Breast Feeding
Reproductive History - nulliparity (never                   Reproductive History – risk drops
having given birth)                                         with each full term pregnancy
Dietary Intake – High Fat Diet, Milk                        Dietary Intake – Low Fat Diet
Fertility Drugs – some studies have found                   Birth Control – number of years on
that using specific fertility drug for longer               oral contraceptives (the pill).
than one year may increase risk                             Recent study reports lower risk
                                                            with DMPA)
Estrogen Replacement Therapy after                          Gynecologic Surgery – tubal
menopause – recent studies suggest an                       ligation, hysterectomy (without
increased risk                                              ovary removal)
Note - Factors not in order of risk level.
Source – American Cancer Society 2013 – www.cancer.org
                                                                                          Gohmonsfolwen
                                                                                            CONSUMER & PERSONAL PRODUCTS WORLDWIDE
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Agency Positions On Association Of
Talc and Ovarian Cancer




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  National Toxicology Program (NTP)
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  • US federal agency under Dept of Health and Human
    Services
  • Evaluates agents for their carcinogenicity
  • Asbestos listed
  • Talc is Not listed



                Decision NOT to Include Cosmetic Talc in its
                       Report on Carcinogens (RoC)


National Toxicology Program – Nomination for Reviews and Reviews – 1993, 2000, 2005, 2007
                                                                                              Golensfolwwen
                                                                                                 CONSUMER & PERSONAL PRODUCTS WORLDWIDE
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 IARC Talc Monograph Summary Conclusions - 2006
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 • Cancer in Humans
    – There is inadequate evidence in humans for the carcinogenicity of
      inhaled talc not containing asbestos or asbestiform fibres. There is
      limited evidence in humans for the carcinogenicity of perineal use
      of talc based body powder.
 • Cancer in Experimental Animals
    – There is limited evidence in experimental animals for the
      carcinogenicity of talc not containing asbestos or asbestiform fibres.
 • Overall evaluation
    – Perineal use of talc-based body powder is possibly carcinogenic to
      humans (Group 2B).
    – Inhaled talc not containing asbestos or asbestiform fibres is not
      classifiable as to its carcinogenicity (Group 3).

IARC Monographs on the Evaluation of Carcinogenic Risks to Humans, VOLUME 93 -
Carbon Black, Titanium Dioxide, and Talc., This publication represents the views and
expert opinions of an IARC Working Group on the Evaluation of Carcinogenic Risks to
Humans,which met in Lyon,7–14 February 2006. Monograph 2010.                                dofmonafofmen
                                                                                              CONSUMER & PERSONAL PRODUCTS WORLDWIDE
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   Cosmetic Ingredient Review (CIR)
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   Conclusions (2013)

   • Talc for use in cosmetics is safe in the present practices
     of use and concentrations
   • Talc should not be applied to the skin when the epidermal
     barrier is missing or significantly disrupted
   • Summary comments on Epidemiological Data
     • Cited a lack of consistent statistically significant
       positive associations across studies
     • Lack of positive dose response or a lack of cause and
       effect
     • Statistical risks were weak and uniformly small

Cosmetic Ingredient Review Expert Panel – Safety Assessment of Talc as Used for
Cosmetics – Final Report (April 12, 2013)                                                    dofmonafofmen
                                                                                               CONSUMER & PERSONAL PRODUCTS WORLDWIDE
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To Sum




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 TO SUM

• Hill Criteria – Insufficient Evidence
• No reports that talc induces any of the six hallmarks of
  cancer1,2
• Overall scientific bodies / agencies find talc safe for
  intended use in cosmetic applications, the 2006 IARC
  classification of Group 2B, notwithstanding


                     Weight of the Evidence -
                Cosmetic Talc Safe For Intended Use

1. Hanahan D, Weinberg RA. The Hallmarks of Cancer. (2000) Cell 100:57-70
2. Hanahan D, Weinberg RA. Hallmarks of Cancer : The Next Generation (2011) Cell
   144:646-674

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         THANK YOU!




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              Exhibit 19
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                                                                        5278

1                SUPERIOR COURT OF THE STATE OF CALIFORNIA
2                                 COUNTY OF ALAMEDA
3                      BEFORE THE HONORABLE STEPHEN KAUS
4                                    DEPARTMENT 19
5                                VIA ZOOM CONFERENCE
6                                       ---O0O---
7      CHRISTINA G. PRUDENCIO,
8               Plaintiff,
9      vs.                                         No. RG20061303
10     JOHNSON & JOHNSON, et
       al.,
11
                Defendants.
12     ________________________/
13
                      REPORTER'S TRANSCRIPT OF PROCEEDINGS
14
                (Trial - Annjanette Gauthier; Nancy Musco;
15                               John Hopkins, Ph.D.)
16                            Thursday, July 8, 2021
17                                     Full Session
18
19
20
               Taken before EARLY K. LANGLEY, B.A., RMR, RSA
21                                   CSR No. 3537
22
23
      VOLUME 34
24
25    PAGES 5278 - 5508

                            Aiken Welch, A Veritext Company
                                     510-451-1580
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                                                                        5279

1     APPEARANCES OF COUNSEL ON THE RECORD VIA ZOOM
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3
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4
5     ANNJANETTE GAUTHIER (for the Plaintiff)
               Direct Examination By Mr. Satterley                          5311
6              Cross-Examination By Ms. Diwan                               5366
7     NANCY MUSCO (for the Plaintiff via videotape)
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9
      JOHN HOPKINS, Ph.D. (for the Plaintiff via
10    videotape)
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                                                                            5288

1                                  --oOo--

2                         P R O C E E D I N G S

3                                  --oOo--

4                    Thursday, July 8, 2021 - 8:46 a.m.

5                    (Morning and Afternoon Combined)

6                 (The following proceedings were held in the

7     virtual breakout room with counsel only outside the

8     presence of the jury:)

9                 THE COURT:   Let's go on the record in Prudencio

10    outside the presence of the jury.                               08:47:03

11                I did want to note one thing, which is

12    Johnson & Johnson has been very cooperative.         Although

13    they oppose this kind of trial, they've, you know,

14    tried to assist in the technical presentation, and I

15    personally appreciate it, because this is a difficult           08:47:27

16    endeavor.

17                MR. DUBIN:   Of course, Your Honor.     We,

18    obviously, also thank the plaintiff's counsel for being

19    cooperative with us while we're examining the

20    witnesses.     So, you know, we are all doing our best for      08:47:39

21    this.

22                THE COURT:   Right.

23                MR. DUBIN:   Before we begin, I just wanted to

24    mention something that occurred to me, because I had

25    raised this before and I wanted to make sure that I             08:47:47

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                                                                            5427

1     Johnson & Johnson and Johnson & Johnson Consumer, and

2     this is from trial testimony of 2019.

3                 THE COURT:     All right.   And I understand it's

4     longer than an hour, but we are going to look at it

5     until 1:15 today.                                                 12:17:02

6                 MR. SATTERLEY:     That's correct, Your Honor.

7                 THE COURT:     All right.   And then we'll figure

8     out how to arrange next week.

9                 All right, Mr. Satterley.      Go ahead.

10                MR. SATTERLEY:     And, once again, he was sworn      12:17:09

11    under oath.        I don't know if the swearing in was a part

12    of the video, but he was sworn under oath as the

13    Johnson & Johnson corporate representative.

14                             JOHN HOPKINS, Ph.D.

15                   (For the Plaintiff via videotape)                  12:17:16

16              reported and played to the jury as follows:

17    EXAMINATION BY MR. PANATIER:

18         Q.     "Now, you are here as the corporate

19    representative for Johnson & Johnson and Johnson &

20    Johnson Consumer, Inc.; correct?                                  12:17:46

21         A.     Yes.

22         Q.     You don't -- you don't work for -- for us; we

23    have not paid to you come here and testify.            Correct?

24         A.     That is correct.

25         Q.     All right.     You currently do not work for          12:17:55

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                                                                            5428

1     Johnson & Johnson; correct?

2             A.   Correct.

3             Q.   You are a consultant?

4             A.   Correct.

5             Q.   So even though you are not currently an          12:18:03

6     employee of Johnson & Johnson, you are the face of

7     Johnson & Johnson at this trial.      Do you understand

8     that?

9             A.   I am today, yes.

10            Q.   And you understand that what you say are the     12:18:14

11    words of Johnson & Johnson; correct?

12            A.   Yes.

13            Q.   Until about the early 1960s, the talc that was

14    used in Johnson & Johnson's Baby Powder was Italian

15    talc for the most part; correct?                              12:18:29

16            A.   Until around about '67, yes.

17            Q.   It was Italian?

18            A.   It was from a mine in Italy, yes.

19            Q.   The Val Chisone region; correct?

20            A.   From the Fontana Mine in the Val Chisone         12:18:41

21    region, a particular mine, yes.

22            Q.   After '67, Johnson & Johnson had purchased a

23    mine in Vermont; correct?

24            A.   They did, yes.

25            Q.   Well, they -- they purchased it prior to 1967;   12:18:51

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                                                                            5431

1          A.   It was, yes.

2          Q.   So Johnson & Johnson no longer owns the Shower

3     to Shower product line; right?

4          A.   Not since 2012, no.

5          Q.   It, obviously, still owns Johnson's Baby            12:21:06

6     Powder; correct?

7          A.   Yes.

8          Q.   Okay.    Johnson & Johnson Corporate in New

9     Brunswick made all health and safety policy decisions

10    with regard to asbestos and talc products; correct?           12:21:22

11         A.   The -- yes.    The company in New Jersey, as the

12    parent company for all global companies, made those

13    decisions, yes.

14         Q.   Okay.    Johnson & Johnson had a big medical

15    library; right?                                               12:21:37

16         A.   They had a library, yes, certainly when I was

17    working there.

18         Q.   They had subscriptions to journals like Journal

19    of the American Medical Association; right?

20         A.   We did, yes.                                        12:21:48

21         Q.   New England Journal of Medicine; right?

22         A.   Uh-huh, yep.

23         Q.   The Lancet?

24         A.   Yes.

25         Q.   And Johnson & Johnson was aware of asbestos         12:21:52

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                                                                            5436

1          A.   Yeah.     That's what I said five minutes ago.

2          Q.   Johnson & Johnson knows there's no safe level

3     of asbestos exposure; correct?

4          A.   Scientists have not shown a safe level, so

5     yeah, I would not disagree.                                      12:26:14

6          Q.   There's no known safe level of asbestos

7     exposure, especially for children; correct?

8          A.   Again, same answer.        There's no -- no evidence

9     to say otherwise, so we'll assume it's correct.

10         Q.   Well, in fact, your answer -- if you go right          12:26:25

11    below on page 108, you were asked this question:

12                      'Okay.    And Johnson & Johnson knows there

13              is no safe level of asbestos exposure,

14              especially for children; correct, sir?'

15              And your answer was, again:                            12:26:37

16                      'There is no known safe level.'

17              Correct?

18         A.   Yes, that's what I said.

19         Q.   And then the follow-up question was:

20                      'That's right, especially for children;        12:26:46

21              correct?'

22                      And you said, 'Yes.'

23              Correct?

24         A.   That's right.       That's what I agree.     Yeah.

25         Q.   All right.       Johnson & Johnson understands that    12:26:53

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                                                                            5437

1     if you had just 1 percent by weight of asbestos in a

2     4-ounce bottle of Johnson's Baby Powder, you don't know

3     if it would be trillions or millions or billions of

4     fibers, but it would be a very large number; correct?

5            A.   Yes.                                              12:27:09

6            Q.   In eight ounces of Johnson's Baby Powder, there

7     would be tens to hundreds of trillions of particles;

8     correct?

9            A.   I don't think anyone has ever counted them, but

10    you could estimate that would be many, many trillions,        12:27:21

11    yes.

12           Q.   Okay.   And if we just wanted to get an

13    understanding of what that would mean in terms of how

14    much asbestos was present, you and I did this

15    calculation.                                                  12:27:35

16                If you had .00001 percent chrysotile, and there

17    were only a trillion particles in the whole bottle, not

18    tens or hundreds, you would still have 10 million

19    fibers per container; correct?

20           A.   Well, that's -- that's the math, yes.             12:27:53

21           Q.   The truth is that there is a robust history of

22    amphibole minerals in Johnson & Johnson's talc that

23    they used for baby powder; correct?

24           A.   You can find nonasbestos amphibole minerals in

25    pretty well every county in the United States, and you        12:28:09

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                                                                        5508

1     STATE OF CALIFORNIA             )
2                                     )       ss.
3     COUNTY OF ALAMEDA               )
4
5                 I, EARLY K. LANGLEY, do hereby certify:
6            That foregoing proceedings were held in the
7     above-entitled action at the time and place therein
8     specified;
9            That said proceedings were taken before me at said
10    time and place, and was taken down in shorthand by me,
11    a Certified Shorthand Reporter of the State of
12    California, and was thereafter transcribed into
13    typewriting, and that the foregoing transcript
14    constitutes a full, true and correct report of said
15    proceedings that took place;
16           IN WITNESS WHEREOF, I have hereunder subscribed my
17    hand on July 9, 2021.
18
19
20
21
22                              <%21370,Signature%>
                                EARLY K. LANGLEY, CSR No. 3537
23                              State of California
24
25

                            Aiken Welch, A Veritext Company
                                     510-451-1580
